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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------x

UNITED STATES OF AMERICA,                                 23-Cr-490 (SHS)

                  -v-                                     ORDER

ROBERT MENENDEZ, NADINE
MENENDEZ, WAEL HANA, JOSE
URIBE, and FRED DAIBES,

                          Defendants.

------------------------------------------------------x


SIDNEY H. STEIN, U.S. District Judge.

       The Court expects the attorneys for all five defendants to be present at the pretrial
conference scheduled for Wednesday, October 18, at 2:00 p.m. in Courtroom 23A.


Dated: New York, New York
       October 16, 2023

                                                          SO ORDERED:
